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 1                                                       HON. JAMAL N. WHITEHEAD

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 7                             UNITED STATES DISTRICT COURT

 8                    FOR THE WESTERN DISTRICT OF WASHINGTON

 9                                      AT SEATTLE

10

11   VALVE CORPORATION,                       Case No. 2:23-cv-1016

12               Plaintiff,                   PLAINTIFF’S OPPOSITION TO
                                              DEFENDANTS’ MOTION TO DISMISS
13         v.

14   LEIGH ROTHSCHILD, ROTHSCHILD             Complaint Filed:    07/07/2023
     BROADCAST DISTRIBUTION SYSTEMS,
15   LLC, DISPLAY TECHNOLOGIES, LLC,
     PATENT ASSET MANAGEMENT, LLC,
16   MEYLER LEGAL, PLLC, AND SAMUEL
     MEYLER,
17
                 Defendants.
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     PLAINTIFF’S OPPOSITION TO DEFENDANTS’                            Kilpatrick Townsend & Stockton LLP
                                                                              1420 Fifth Avenue, Suite 370
     MOTION TO DISMISS                        1                                          Seattle, WA 9810
     CASE NO. 2:23-CV-1016                                                                (206) 467-9600)
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                                                                                                                 Kilpatrick Townsend & Stockton LLP,
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 1   I.       INTRODUCTION

 2            Defendants’ motion almost entirely ignores the legal standard for a motion to dismiss.

 3   Instead of arguing beyond a doubt that Valve’s First Amended Complaint (“Complaint,” Dkt. 23)

 4   contains no set of facts that supports their claims, Defendants focus their motion on disputing

 5   Valve’s factual allegations and improperly weighing the evidence. Valve’s factual allegations in

 6   its Complaint, however, must be taken as true. Any factual dispute identified by Defendants

 7   confirms that Defendants’ motion should be denied and that the case should proceed to discovery.

 8            Defendants only arguments appropriate for resolution on the pleadings are based on

 9   Defendants’ mischaracterization of the Complaint and the 2016 Global Settlement and Licensing

10   Agreement (“GSLA”). When the appropriate legal standards and provisions of the GSLA are

11   applied to the facts contained in Valve’s Complaint, each of Defendants’ arguments fail. As

12   described below, Valve has continued to comply with the GSLA, despite Defendants’ repeated

13   material breaches of the same. While Defendants attempt to recast their bad faith assertion of

14   patent infringement as “clerical errors” or “compliance” with the GSLA, Defendants’ motion

15   confirms that they have no intention of policing their own actions. Without Court intervention,

16   Defendants will continue to force Valve to litigate patent infringement lawsuits asserting patents

17   Valve already has a license to.

18   II.      ARGUMENT

19            A.     The GSLA Permits Valve to Challenge the Validity and Enforceability of the
                     ’221 Patent Because Defendants Asserted the ’221 Patent Against Valve
20

21            Defendants argue that Valve is barred by the GSLA from bringing Counts I and II of

22   unenforceability and invalidity of the ’221 Patent. Defendants are incorrect. Counts I and II are

23   allowed under the GSLA. Moreover, Valve has a reasonable apprehension that Defendants will

24   file a lawsuit against Valve for infringement of the ’221 Patent—despite the GSLA barring such

25   lawsuits—due to Defendants’ explicit threats to do so and Defendants’ repeated material breaches

26   of the GSLA. Thus, there is a justiciable case or controversy regarding the invalidity and

27   unenforceability of the ’221 Patent.

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                                                                          Kilpatrick Townsend & Stockton LLP,
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 1           First, Counts I and II do not violate the GSLA. The GSLA explicitly permits Valve to

 2   challenge the validity and unenforceability of the ’221 Patent when Defendants assert it against

 3   them: “[N]othing in this Paragraph or in this Agreement shall prevent Licensee . . . from asserting

 4   that any of the Licensed Patents are invalid, not infringed or unenforceable if the Licensed Patents

 5   are asserted against Licensee . . . .” Dkt. 23-1, § 2.3. As alleged in the Complaint, Defendants

 6   asserted the ’221 Patent against Valve in the June 2023 demand letter. Dkt. 23, ¶¶ 27-33. In that

 7   demand letter, Defendants threatened to “file[] . . . their complaints” for patent infringement,

 8   attaching “preliminary claim charts” “that have been prepared in anticipation of litigation” and

 9   which noted Valve as a “Defendant.” Dkt. 23-8. On the face of the Complaint, Valve has plausibly

10   alleged that Defendants asserted1 the ’221 Patent against it. See, e.g., Asia Vital Components Co.

11   v. Asetek Danmark A/S, 837 F.3d 1249, 1253-55 (Fed. Cir. 2016) (holding that listing asserted

12   patents in a demand letter that referenced the sender “enforced its IP” was sufficient assertion of

13   patent infringement to confer standing.); see also Hewlett-Packard Co. v. Acceleron LLC, 587

14   F.3d 1358, 1362-64 (Fed. Cir. 2009) (holding that twice contacting a target, identifying patents as

15   relating to a target’s products, and a target’s statement of disagreement is sufficient to confer

16   declaratory judgment jurisdiction). Thus, under Section 2.3 of the GSLA, Valve is permitted to

17   seek a declaration of invalidity and unenforceability of the ’221 Patent. And there is a judiciable

18   case or controversy because the June 2023 demand letter is “an explicit threat” by Defendants that

19   “creates a reasonable apprehension on behalf of [Valve] that it will face an infringement suit”

20   based on Valve’s “present activity” offering the Steam app. Gen-Probe Inc. v. Vysis, Inc., 359

21   F.3d 1376 (Fed. Cir. 2004), abrogated on other grounds by MedImmune, Inc. v. Genentech, Inc.,

22   549 U.S. 118 (2007).

23   1
       To the extent that Defendants attempt to argue ambiguity regarding the word “assert,” the
24   meaning of ambiguous contract language is inappropriate for review on a motion to dismiss because
     discovery could uncover extrinsic evidence to resolve that ambiguity. See Bedrosian v. Tenet
25   Healthcare Corp., 208 F.3d 220 (9th Cir. 2000) (holding that resolution of contractual claims on a
     motion to dismiss is only proper if the terms are unambiguous); see also Ticey v. Fed. Deposit Ins.
26   Corp., No. C22-1110 MJP, 2023 WL 2742055, at *3 (W.D. Wash. Mar. 31, 2023), reconsideration
     denied, No. C22-1110 MJP, 2023 WL 3382506 (W.D. Wash. May 11, 2023) (stating that extrinsic
27
     evidence can be used to ascertain the true intentions and agreement of the parties for ambiguous
28   claim language).
                                                                            Kilpatrick Townsend & Stockton LLP,
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 1          Second, even if Valve’s actions were somehow in violation of the GSLA (they are not), the

 2   GSLA will only divest the Court of jurisdiction to hear Counts I and II if the parties “have each

 3   fulfilled their obligations without material breach.” Gen-Probe, 359 F.3d at 1381. The Federal

 4   Circuit in Gen-Probe dismissed the Plaintiff’s declaratory judgment claims precisely because

 5   without a material breach, “no facts [] have arisen since the [parties’] license to give Gen–Probe a

 6   reasonable apprehension of a lawsuit.” Id. In this case, the particular facts alleged in Valve’s

 7   Complaint point to multiple material breaches in the GSLA that placed Valve in “a reasonable

 8   apprehension of a lawsuit.”

 9          Defendants’ repeated material breaches of the GSLA prevent Defendants from relying on

10   that agreement to wrest jurisdiction from this Court. In the Complaint, Valve has alleged how

11   Defendant has committed material breaches of the GSLA no less than three times in

12   approximately a year.

13             Defendants’ employee, Daniel Falcucci, messaged multiple Valve employees to
                execute a new, additional license agreement to Defendants’ “inventory catalog.” Dkt
14              23, ¶ 15. That inventory catalog included patents already covered under the GSLA. Id.
15             When Valve declined to engage in additional negotiations with Falcucci, Display
                Technologies disregarded the covenant not to sue and filed a lawsuit accusing Valve of
16              infringing U.S. Patent No. 9,300,723. Id., ¶ 20. Valve already had a license to U.S.
                Patent No. 9,300,723 under the GSLA. Id., ¶ 22. Valve was forced to undertake the
17              expense of reviewing the complaint, comparing the asserted patents to the GSLA, and
                writing opposing counsel to inform them that Valve already had a license. Id., ¶ 23;
18              Dkt. 23-6.
19             Defendants sent a demand letter in June 2023 threatening to sue Valve for alleged
                infringement of the ’221 Patent, another patent Valve already licensed. Id., ¶ 27. The
20              June 2023 demand letter attached claim charts “prepared in anticipation of litigation”
                and gave Valve nine days to respond before the Defendants would “assume that Valve
21              would prefer to litigate” the ’221 Patent. Dkt. 23-8.
22   Defendants have not withdrawn or repudiated any of their demands made in violation of the

23   GSLA, including the ones that led to this present suit. Instead, Defendants doubled down and

24   stated their clear intent to assert counterclaims of infringement of the ’221 Patent against Valve in

25   any Answer they file in this case. Dkt. 28, ¶ II.5 (Parties’ Joint Status Report).

26          Defendants’ June 2023 demand letter was an unambiguous threat to file a patent

27   infringement lawsuit asserting the ’221 Patent. Based on Defendants’ repeated disregard of their

28
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 1   obligations under the GSLA, Valve had a “reasonable apprehension” that it will be sued for

 2   infringing the ’221 Patent, despite the fact that Defendants should be barred from doing so. Gen-

 3   Probe, 359 F.3d at 1380. The existence of the GSLA cannot negate Valve’s reasonable

 4   apprehension in light of Defendants’ repeated material breach of the agreement, including doing

 5   the exact same thing in the past that it threatened to do in June 2023: filing a patent infringement

 6   lawsuit asserting patents to which Valve is already licensed. Dkt. 23, ¶ 33.

 7          The cases that Defendants cite, Dow Jones and Benitec, do not support Defendants’

 8   position because neither involve breach, much less repeated breaches, of a covenant not to sue. See

 9   Dow Jones & Co. v. Ablaise Ltd., 606 F.3d 1338, 1345 (Fed. Cir. 2010); Benitec Australia, Ltd. v.

10   Nucleonics, Inc., 495 F.3d 1340, 1347-48 (Fed. Cir. 2007). In Dow Jones the parties disputed

11   whether the covenant not to sue covered Dow Jones’ affiliates and subsidiaries; there were no

12   allegations regarding Ablaise breaching the covenant by asserting the patent against Dow Jones

13   directly. 606 F.3d at 1348-49. In Benitec, the Federal Circuit found no case or controversy because

14   Nucleonics’ present activities were not and could not be infringing until Nucleonics filed a new

15   drug application. 495 F.3d at 1346-47. Here, there is no dispute that Defendants accuse Valve’s

16   present activities of infringing the ’221 Patent. See, e.g., Dkt. 23-8.

17          Defendants’ motion to dismiss Counts I & II should be denied.

18          B.      The Complaint Plausibly Alleges that Defendants Breached the GSLA

19          Defendants’ arguments that they did not breach the GSLA rely on self-serving statements

20   contradicting factual allegations in the Complaint. The Court, however, must take as true all of

21   Valve’s allegations in the Complaint. It is inappropriate to consider Defendants’ new factual

22   assertions outside of the Complaint during a motion to dismiss. Moreover, as explained below,

23   Defendants’ new assertions are incorrect or dubious at best.

24          First, regarding Defendants’ breach of Section 3.1 of the GSLA, Defendants attempt to

25   contradict Valve’s allegations in the Complaint by reframing their demand to “explore a potential

26   resolution to” their allegations of infringement as not “demand[ing] any payment.” Dkt. 27 at 13.

27   Yet Valve alleges that “[t]he ‘potential resolution’ and ‘resolution’ discussed in the 2023 demand

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                                                                               Kilpatrick Townsend & Stockton LLP,
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 1   letter send by Meyler on behalf of Rothschild and RBDS is a monetary payment for additional

 2   rights to patents to which Valve is already licensed, including the ’221 Patent.” Dkt. 27, ¶ 71.2

 3   Valve’s factual allegation must be accepted as true. Retail Prop. Tr. v. United Bhd. of Carpenters

 4   & Joiners of Am., 768 F.3d 938, 945 (9th Cir. 2014) (“In reviewing a motion to dismiss pursuant

 5   to Rule 12(b)(6), we must accept as true all factual allegations in the complaint.”). Defendants’

 6   self-serving statements are outside of the pleading and thus inappropriate to consider during a

 7   motion to dismiss. Khoja v. Orexigen Therapeutics, Inc., 899 F.3d 988, 998 (9th Cir. 2018)

 8   (“Generally, district courts may not consider material outside the pleadings when assessing the

 9   sufficiency of a complaint under Rule 12(b)(6) of the Federal Rules of Civil Procedure.”). Taken

10   as true, Defendants’ demand for monetary payment is a violation of Section 3.1 states of the

11   GSLA, which grants Valve a “perpetual, irrevocable, royalty-free, fully paid-up, worldwide

12   license” and requiring “[n]o royalties or additional payments of any kind . . . in order to maintain

13   this Agreement in force.” Dkt. 23-1, § 3.1.

14           Second, regarding Defendants’ anticipatory breach of Section 3.2 of the GSLA, Defendants

15   argue that Valve has not “alleged facts sufficient to support the claim that RBDS would have sued

16   Plaintiff, or maintained a suit against Plaintiff had one been filed, once learning that the ’221

17   patent was subject to the GSLA.” Dkt. 27 at 13 (emphasis added). Defendants’ argument proves

18   the point—Defendants have never been willing to ensure their own compliance with the GSLA.

19   Instead, Defendants place the onus on Valve to inform Defendants that Defendants have breached

20   the GSLA. Only then would Defendants act. Moreover, Defendants’ subsequent compliance with

21   the GSLA after breaching the agreement does not negate the breach. Defendants’ argument does

22   not amount to an assertion that “no set of facts support [Valve’s] claim that would entitle [Valve]

23   to relief.” Silvas v. E*Trade Mortg. Corp., 514 F.3d 1001, 1004 (9th Cir. 2008). Instead,

24   Defendants’ argument that only once Valve had informed them of their breach, they allegedly

25

26   2
      It is difficult to fathom what “potential resolutions” would convince non-practicing entities such
27   as Defendants to forego patent infringement claims besides monetary payments. Indeed, since
     2022, Defendants have been seeking more money from Valve for a renegotiated license to
28   Rothschild’s patents. Dkt. 23-5.
                                                                            Kilpatrick Townsend & Stockton LLP,
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 1   would have acted differently.3

 2           On the face of the Complaint, Valve alleged sufficient facts to plausibly support a claim for

 3   anticipatory breach. “Under Washington law, an anticipatory breach occurs when a party to a

 4   bilateral contract either expressly or impliedly repudiates the contract prior to performance.”

 5   Wyckoff Farms, Inc. v. Indus. Control Concepts, Inc., No. 4:20-CV-5095-TOR, 2020 WL

 6   13490269, at *3 (E.D. Wash. Oct. 27, 2020) (citing Wallace Real Estate Inv., Inc. v. Groves, 124

 7   Wash. 2d 881, 898 (1994)). Valve alleged, “RBDS made a positive statement indicating distinctly

 8   and unequivocally that it would not substantially perform its obligations under the covenant not to

 9   sue without receiving additional monetary payment that goes beyond Valve’s payment obligations

10   under the [GSLA].” Dkt. 23, ¶ 74; see also id., ¶¶ 27-33, 67-73. Valve described how RBDS

11   expressly repudiated the GSLA by announcing its intention to sue Valve in the June 2023 demand

12   letter. Dkt. 23, ¶¶ 67-71, 73-74. RBDS’s intention in the June 2023 was clear: RBDS had created

13   infringement contentions “in anticipation of litigation” and if Valve did not respond to the June

14   2023 demand letter within nine days, the Defendants would understand that “Valve preferred to

15   litigate.” Dkt. 23-8; see also id. (“[M]y clients are willing to delay the filing of their complaints as

16   long as they feel that Valve is working toward a resolution in good faith.”). Yet Valve had already

17   resolved any and all claims related to the ’221 Patent by signing the GSLA. Announcing its

18   intention to breach the GSLA by filing a complaint alleging infringement of the ’221 Patent within

19   nine days is a clear repudiation of RBDS’s obligations under the agreement.

20           Third, with regards to Display Technologies breach of the GSLA, Defendants first take

21   issue with the characterization of Mr. Falcucci’s correspondence. Valve’s allegations, however,

22   are presumed to be true, and any factual dispute should not be resolved at a motion to dismiss.

23   Retail Prop. Tr., 768 F.3d at 945. Moreover, Defendants’ assertions that “a demand letter . . . is

24   3
       Defendants claim that they would act in good faith once informed of their breach is belied by their
25   actions after the filing of this lawsuit. This lawsuit informed Defendants that the ’221 Patent was
     subject to the GSLA and was being asserted against Valve in bad faith. Instead of withdrawing its
26   June 2023 demand letter or coming into compliance with the GSLA, Defendants filed three
     retaliatory lawsuits in the Eastern District of Texas with the express intent of driving up Valve’s
27
     litigation expenses and informed Valve of their intent to bring counterclaims asserting the ’221
28   Patent against Valve. Dkt. 28, ¶ II.5 (Parties’ Joint Status Report).
                                                                             Kilpatrick Townsend & Stockton LLP,
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 1   not the same as filing a lawsuit” is irrelevant and does not foreclose Valve’s claims as a matter of

 2   law. As described above, a demand letter is an “assertion” under the GSLA and thus can be a

 3   breach of the GSLA. Supra § Error! Reference source not found.. Defendants’ disputes

 4   regarding whether Mr. Falucci’s correspondence were a “demand” are fact-intensive issues of

 5   contract interpretation that should be subject to discovery and not ripe for adjudication on a

 6   motion to dismiss. Thomas v. State Farm Mut. Auto. Ins. Co., No. C22-1730-JCC, 2023 WL

 7   2611889, at*2 (W.D. Wash. Mar. 23, 2023) (“[I]t is black letter law that, at this stage, the Court

 8   must draw reasonable inferences in Plaintiff's favor … By urging the Court to interpret the

 9   [contract] in their favor, Defendant would ask the Court to do the opposite, which it cannot do on

10   a Rule 12(b)(6) motion.” (citation omitted) (emphasis in original)).

11             Defendants next assert that Display Technologies was in full compliance with Section 3.5

12   of the GSLA because, when it was informed by Valve that it filed a lawsuit alleging infringement

13   of a licensed patent, Display Technologies promptly dismissed its lawsuit. As discussed above,

14   however, merely coming back into compliance with the GSLA does not negate the breach. For

15   this reason alone, Defendants’ argument should be rejected.

16             Moreover, to support Defendants’ argument that they allegedly complied with the GSLA,

17   Defendants mislead the Court by selectively quoting Section 3.5 and omitting the key language

18   that confirms that section does not apply to lawsuits against Valve. Dkt. 27 at 14. Section 3.5

19   states “[i]n the event that Licensor brings a claim under the Licensed Patents against any Licensee

20   Third-Party, or any entity that claims that the alleged infringing conduct arises out of any

21   communication, integration, transaction, cooperation, or contractual obligation with or on behalf

22   of Licensee . . . .” Dkt. 23-1, § 3.5 (emphasis added). The plain language of Section 3.5 does not

23   apply to suing Valve. Instead, Section 3.5 contemplates only the situation where Defendants

24   inadvertently sue a third party. Section 3.5 does not protect Defendants when they disregard the

25   GSLA and sue Valve itself. Thus, it cannot foreclose Valve’s breach of contract claim as a matter

26   of law.

27             Fourth, Defendants’ make the dubious claim that when the Meyler Defendants sent the

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 1   June 2023 Demand Letter to Valve, it was “[u]nbeknownst to” them that the ’221 Patent was

 2   covered under the GSLA. Dkt. 27, at 7. Valve alleged that the Meyler Defendants were aware of

 3   the terms of the GSLA when they sent the June 2023 demand letter to Valve. Id., ¶ 30. These

 4   allegations must be taken as true and cannot be contradicted in Defendants’ motion with

 5   unsupported attorney argument. Retail Prop. Tr., 768 F.3d at 945. Moreover, Defendants’ self-

 6   serving statement is belied by the simple fact that the ’221 Patent is identified on the face of the

 7   GSLA as a licensed patent. Dkt. 23-1 at 19. The Meyler Defendants represented the other

 8   Defendants for over a year (Dkt. 23, ¶¶ 21-28) and during that time were send a copy of the GSLA

 9   by Valve twice, in October and December 2022 (id., ¶ 23). If the Meyler Defendants did not know

10   that the ’221 Patent was covered under the GSLA, the only reasonable conclusion based on the

11   allegations in the Complaint is that the Meyler Defendants did not review the GSLA prior to

12   sending the June 2023 demand letter and thus violated at least Washington Rule of Professional

13   Conduct 2.1. C.f. id., ¶¶ 31-32.

14          Because Valve plausibly alleged actual and anticipatory breach of contract against both

15   RBDS and Display Technologies, Valve’s allegations against Leigh Rothschild are also sufficient.

16          The Court cannot credit Defendants’ self-serving statements made for the first time in its

17   motion to dismiss over Plaintiff’s well-pleaded allegations in its Complaint. Therefore,

18   Defendants’ motion to dismiss Count III should be denied.

19          C.      The Complaint Plausibly Alleges a Violation of Washington’s Patent Troll
                    Prevention Act
20
                    1.      Defendants Ask the Court to Improperly Weigh Evidence at the Pleading
21                          Stage
22          Defendants’ arguments for dismissal of Count IV amount to nothing more than a request to

23   have the Court weigh evidence, which is inappropriate at this stage in the case. See, e.g., Dkt. 27 at

24   16 (“When all of the factors showing good faith are properly weighed, the only reasonable

25   conclusion that can be drawn is that Defendants’ assertion of infringement of the ’221 patent was

26   made in good faith.” (emphasis added)). At this stage in the case, however, the Court must accept

27   Valve’s allegations as true. Any weighing of factors is only appropriate after discovery.

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 1          See, e.g., Gunn v. Drage, 65 F.4th 1109, 1120 (9th Cir. 2023) (“[W]here a defendant

 2   asserts “a factual challenge,” courts must treat the motion to strike as “a motion for summary

 3   judgment,” triggering discovery.”). It is inappropriate to weigh Defendants’ bad faith actions

 4   against any good faith actions (which are nowhere to be found in Valve’s complaint) at the

 5   pleading stage.

 6          Moreover, Defendants argue that because Valve failed to address the “good-faith” factors

 7   at all, it has not pleaded a claim upon which relief can be granted. No court has held that such

 8   factors must be mentioned in the complaint to plausibly plead a claim for violation of the Patent

 9   Troll Prevention Act. Nor have Defendants adduced any reason “good-faith” factors would be

10   required. Defendants’ unsupported argument should be rejected.

11                  2.      Defendants Mischaracterize Valve’s Complaint
12          In addition to their request to improperly weigh the enumerated factors of the Patent Troll

13   Prevention Act, Defendants repeatedly mischaracterize the allegations made in Valve’s complaint

14   in an attempt to distance themselves from their repeated bad-faith threats against Valve.

15          First, Defendants allege that they cannot meet RCW 19.350.020(2)(f) because “[a]s

16   conceded in the FAC . . . no court has ever found Defendant’s assertions of infringement to be

17   without merit or containing false, misleading, or deceptive information.” Dkt. 27 at 15. Valve did

18   not so concede. Valve only noted that Defendants’ assertions of the ’221 Patent had not yet been

19   found to be meritless, due to Defendants’ litigation strategy of avoiding any substantive decisions

20   on the merits of its allegations. The Complaint sets forth facts that confirm that “courts have found

21   that patent claims made by other Rothschild-controlled entities are without merit” and one court

22   “found [Rothschild’s assertions of patent infringement] to be so lacking in merit that it awarded

23   fees to the opposing party.” Dkt. 23, ¶ 89(b); Dkt. 23-3 at 3 (“And Rothschild has been hit with fee

24   awards for filing objectively baseless lawsuits against defendants who clearly did not infringe his

25   patents.”). RCW 19.350.020(2)(f) considers not just the actions of Defendants but their

26   subsidiaries and affiliates. Valve’s allegations that claims made by Rothschild’s subsidiaries and

27   affiliates have been found meritless must be taken as true and are relevant under Factor (f). See,

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 1   e.g., Iten v. Los Angeles, No. 22-55480, 2023 WL 5600292, at *3 (9th Cir. Aug. 30, 2023) (“We

 2   assume all [Plaintiff’s] allegations to be true and draw all reasonable inferences in his favor.”).

 3          Defendants also assert, without analysis or support, that a case involving a different

 4   Rothschild entity and different patent is per se not “based on the same or substantially equivalent

 5   assertion of patent infringement.” Dkt. 27 at 15. Such analysis, however, can only be performed

 6   once discovery into the full scope of Defendants’ affiliates’ and subsidiaries’ meritless assertions

 7   of infringement is complete. Without the benefit of discovery, it is improper to determine whether

 8   such meritless assertions are “the same or substantially equivalent assertion of patent

 9   infringement” to Defendants’ assertion of the ’221 Patent. Valve’s allegations that lawsuits filed

10   by Rothschild affiliates and subsidiaries have been found without merit are relevant to a

11   determination of whether a violation of the Patent Troll Prevention Act has occurred. Valve’s

12   allegations are plausible on their face and will be further refined as Valve seeks discovery into

13   Defendants’ “pattern of litigation abuses characterized by the repeated filing of patent

14   infringement actions for the sole purpose of forcing settlements, with no intention of testing the

15   merits of one’s claims.” Rothschild Connected Devices Innovations, LLC v. Guardian Prot. Servs.,

16   Inc., 858 F.3d 1383, 1390 (Fed. Cir. 2017).

17          Second, Defendants attempt to recast Mr. Meyler’s June 2023 Demand letter as a “clerical

18   error” rather than a bad-faith assertion of patent infringement. Again, Defendants assertions are

19   self-serving, unsupported by evidence, and mischaracterize the allegations in the complaint. See,

20   e.g., Dkt. 23, ¶¶ 82, 87-90. Valve’s allegations of bad faith must be taken as true. See, e.g., Iten,

21   2023 WL 5600292, at *3. Nor can the Court consider Defendants’ assertions extrinsic to the

22   Complaint. Jones v. L.A. Cent. Plaza LLC, 74 F.4th 1053, 1059 (9th Cir. 2023) (“[W]hen

23   presented with ‘matters outside the pleadings’ in connection with a motion to dismiss for failure to

24   state a claim under Rule 12(b)(6) . . . , the district court may choose to exclude such extrinsic

25   matters and address the motion under the applicable Rule 12 standards, or it may convert the

26   motion into “one for summary judgment under Rule 56.”).

27          Valve has alleged that Mr. Meyler knew of the GSLA prior to sending the June 2023

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 1   Demand Letter, and that he was sent a copy of the GSLA by Valve. Dkt. 23, ¶ 89(c). Valve also

 2   alleged that Mr. Meyler’s twice-repeated tactic of seeking additional money for a license to a

 3   patent already covered by the GSLA amounts to bad faith assertion of patent infringement. Dkt.

 4   23, ¶¶ 89-90. Accepted as true, these well-pled allegations are evidence of bad-faith patent

 5   infringement under RCW 19.350.020(2)(g) and are sufficient to “state a claim to relief that is

 6   plausible on its face.” Ashcroft, 556 U.S. at 678.

 7          In sum, none of Defendants’ arguments regarding the Patent Troll Prevention Act go to the

 8   sufficiency of Valve’s allegations or allege that Valve is legally barred from seeking relief under

 9   the Patent Troll Prevention Act. Instead, Defendants attempt to contradict factual allegations in the

10   Complaint, identify factual disputes that are best explored during discovery, and ask the Court to

11   weigh factors based on a completely undeveloped record. These arguments are insufficient to

12   overcome Valve’s factual allegations in the Complaint, taken as true.

13          Defendants’ motion to dismiss Count IV should be denied.

14          D.      Valve Has Stated a Claim Against the Myler Defendants
15                  1.      The Meyler Defendants Cannot Invoke the Litigation Privilege
16          The litigation privilege cannot provide the Meyler Defendants absolute immunity from

17   abuse of the legal system as contemplated in the Patent Troll Prevention Act. Doing so would

18   violate the public policy considerations underlying the privilege and undermine the integrity of the

19   judicial process. Further, the litigation privilege does not apply to Valve’s allegations against the

20   Meyler Defendants because they are not “statements made in the course of a judicial proceedings.”

21   Young v. Rayan, 533 P.3d 123, 128 (Wash. Ct. App. 2023) (emphasis added). The litigation

22   privilege does not extend to private communications between two private parties when there is no

23   pending litigation.

24          First, litigation privilege should not extend to allegations under Washington Patent Troll

25   Prevention Act. Courts have excluded from the scope of the litigation privilege allegations against

26   attorneys “for the tortious use of the legal process,” including claims of abuse of process or

27   malicious prosecution. Scott v. Am. Express Nat’l Bank, 22 Wash. App. 2d 258, 265, review denied,

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 1   200 Wash. 2d 1021 (2022) (explaining that litigation privilege does not extend to malicious

 2   prosecution or malicious use of the legal system); see also Mason v. Mason, 19 Wash. App. 2d 803,

 3   835 (2021), review denied, 199 Wash. 2d 1005 (2022) (“Consequently, litigation privilege does not

 4   apply, and an attorney can be liable for abuse of process . . . .”). Washington’s Patent Troll

 5   Prevention Act is exactly the type of tortious use of the legal process that has been excluded from

 6   the litigation privilege. The Washington Legislature passed the Patent Troll Prevention Act to

 7   “protect Washington’s economy from abusive and bad faith assertions of patent infringement.”

 8   RCW 19.350.005. These “abusive and bad faith assertions of patent infringement” are nearly

 9   identical to the abuse of process and malicious prosecution claims that Washington courts have

10   declined to immunize attorneys from. Like an abuse of process claim, integral to a violation of the

11   Patent Troll Prevention Act is “abusive” and “bad faith” conduct, which is “not related to the

12   legitimate purposes of a judicial proceeding.” Mason, 19 Wash. App. 2d at 835 (emphasis added).

13          The public policy underlying litigation privilege would not be served by allowing the

14   Meyler Defendants to invoke such broad absolute privilege to avoid liability for violating the

15   Washington Patent Troll Prevent Act. Immunizing the Meyler Defendants from violation of the

16   Patent Troll Prevention Act would immunize them from “misappropriate[ing] a judicial proceeding

17   to achieve an improper and extrinsic end,” which “neither preserves ‘integrity of the judicial

18   process,’ nor ‘further[s] the administration of justice.’” Id. at 837 (second alternation in original)

19   (internal citations omitted). Moreover, because of the “extraordinary scope” of the litigation

20   privilege, courts will not apply the litigation privilege where there are no “safeguards to prevent

21   abuse of the privilege.” Story v. Shelter Bay Co., 52 Wash. App. 334, 338, 760 P.2d 368, 371 (1988)

22   (holding that absolute privilege does not extend to “proceedings which, although official and public,

23   are not judicial in substance, as a nonjudicial forum may lack safeguards to prevent abuse of the

24   privilege”). Therefore, “absolute privileges have been limited to situations in which authorities have

25   the power both to discipline persons whose statements exceed the bounds of permissible conduct

26   and to strike such statements from the record.” Moore v. Smith, 89 Wash. 2d 932, 937, 578 P.2d 26,

27   29 (1978); see also Mason v. Mason, 19 Wash. App. 2d 803, 832 (2021), review denied, 199 Wash.

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 1   2d 1005 (2022) (“Safeguards inherent to the judicial process, such as swearing an oath, cross-

 2   examination, and the threat of perjury, ensure the reliability of testimony.”).

 3          No such safeguards would apply to the statements of the Meyler Defendants alleged in this

 4   action if the claims are dismissed against them. If the Myler Defendants were given absolute

 5   privilege from litigation for all private communications made outside of any pending judicial

 6   proceeding, there would be essentially no safeguards to prevent such abuse of that absolute

 7   privilege. Story, 760 P.2d at 371. In light of these lack of safeguards and consistent with courts’

 8   exclusion of similar abuse of process claims, the Court should find that the litigation privilege does

 9   not apply to the Meyler Defendants’ violation of the Washington Patent Troll Prevention Act.

10          Second, the Meyler Defendants communications in the June 2023 demand letter were not

11   made during the course of any litigation or judicial proceeding, as alleged in the Complaint. Dkt.

12   23, ¶ 86 (“To avoid any doubt, [the June 2023] demand letter was a private communication between

13   two private parties outside of the context of any judicial or quasi-judicial proceeding.”). Nor did

14   Defendants identify any connection to any actual judicial proceeding that these communications

15   were allegedly related to. Dkt. 27 at 19. “[S]tatements made during an occasion outside a judicial

16   proceeding are not covered.” Kurczaba v. Pollock, 318 Ill. App. 3d 686, 706 (2000). Valve’s

17   allegation that the Meyler Defendants’ communications were outside the context of any judicial or

18   quasi-judicial proceeding must be taken as true.

19          Moreover, Defendants have not cited a case where the litigation privilege was applied to

20   statements or actions made when there was no pending litigation or judicial proceeding. Indeed,

21   Defendants only cite two cases that allegedly state the proposition that litigation privilege may

22   apply to “communications preliminary to a proposed judicial proceeding.” Dkt. 27 at 18. However,

23   neither of those cases support the extension of the litigation privilege doctrine that Defendants

24   advocate for here. In Engelmohr, the Supreme Court of Washington held that a statement made

25   before an administrative body that was not conducted in a quasi-judicial proceeding did not have

26   the benefit of the absolute litigation privilege. Engelmohr v. Bache, 66 Wash. 2d 103, 107 (1965).

27   In Demopolis, allegedly defamatory statements made outside the courtroom but during the

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 1   pendency of court proceedings were also not found to be privileged. Demopolis v. Peoples Nat.

 2   Bank of Washington, 59 Wash. App. 105, 110 (1990) As the Court in Demopolis acknowledged, “an

 3   absolute privilege is allowed only in ‘situations in which authorities have the power to discipline as

 4   well as strike from the record statements which exceed the bounds of permissible conduct.’” Id.

 5   (quotation omitted). Here, none of the Myler Defendants’ actions or statements were made in the

 6   context of a judicial or quasi-judicial proceeding, nor were they made in a situation in which

 7   authorities had the power to strike the statements. Thus, the statements should not be given absolute

 8   privilege. Dkt. 23, ¶ 86.

 9          The text of the Patent Troll Prevention Act is consistent with limiting the litigation privilege

10   to applying only to statements made during an active litigation or judicial proceeding. The Patent

11   Troll Prevent Act includes in its definitions “[s]ending or delivering a demand to a target,”

12   “[t]hreatening a target with litigation,” and “otherwise making claims or allegations.” RCW

13   19.350.010(1)(a)-(d). These examples are precisely the extra-judicial actions taken by the Meyler

14   Defendants (who, as alleged in the Complaint, has access to and was aware of the terms of the

15   GSLA when they sent the June 21, 2023 demand letter to Valve (Dkt. 23, ¶ 23, 29-30)) on behalf of

16   the other Defendants. Dkt. 82-90. The Patent Troll Prevent Act excludes from the definition of

17   “Assertion of patent infringement” allegations “made in litigation against a target” because those

18   assertions are the type of statements that would likely be covered under the litigation privilege.

19   RCW 19.350.010(1)(d) (emphasis added).

20          Adopting Defendants’ interpretation of litigation privilege would allow an attorney to shield

21   themselves from all repercussions for both their speech and actions merely by claiming it was

22   related to “their representation of their clients and communication(s) on behalf of their clients.” Dkt.

23   27 at 19. That is not the law. See, e.g., US Dominion, Inc. v. Powell, 554 F. Supp. 3d 42 (D.D.C.

24   2021), appeal dismissed sub nom. US Dominion, Inc. v. My Pillow, Inc., 2022 WL 774080 (D.C.

25   Cir. Jan. 20, 2022), cert. denied sub nom. MyPillow, Inc. v. US Dominion, Inc., 143 S. Ct. 294

26   (2022) (denying defendant Sydney Powell’s motion to dismiss defamation claims related to the

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 1   2020 presidential election because “an attorney's out-of-court statements to the public can be

 2   actionable, even if those statements concern contemplated or ongoing litigation.”).

 3          To the extent Defendants now attempt to create a fact dispute regarding the context of the

 4   Meyler Defendants’ communications, that is inappropriate to resolve at the pleading stage without

 5   the benefit of discovery. Gunn, 65 F.4th at 1120 (“[W]here a defendant asserts “a factual

 6   challenge,” courts must treat the motion to strike as “a motion for summary judgment,” triggering

 7   discovery.”). Further, to the extent there is any question of whether the litigation privilege should

 8   apply, the application of the litigation privilege is fact intensive and should not be resolved at the

 9   motion to dismiss stage. See, e.g., Demopolis, 59 Wash. App. at 111(1990) (“Resolution of the issue

10   is hampered by the lack of a record from the estate litigation, and by the fact-specific nature of

11   relevant decisions from this and other jurisdictions.”) (collecting cases).

12          Defendants’ motion to dismiss the Meyler Defendants should be denied.

13                  2.      Valve Voluntarily Dismisses Without Prejudice Count V: Conspiracy to
                            Commit Violations of Washington Patent Troll Prevention Act
14

15          The parties filed a joint stipulation to amend the complaint to remove Count V: Conspiracy

16   to Commit Violations of Washington Patent Troll Prevention Act and to agree that the parties’

17   briefing on Valve’s First Amended Complaint (Dkt. 27, Valve’s Response, and Defendants’ Reply)

18   shall apply to the allegations and claims in the Second Amended Complaint and that no further

19   briefing on Valve’s Second Amended Complaint will occur.

20          Valve’s Second Amended Complaint renders moot Defendants argument that the parties

21   cannot be co-conspirators (Dkt. 27 at 17-18) and that Defendants’ actions were consistent with a

22   lawful or honest purpose (id. at 20). Moreover, even if considered on the merits, Defendants’

23   argument that they acted with “lawful and honest purpose” is merely another attempt to dispute

24   Valve’s allegations in the complaint relying on only unsupported attorney argument and should be

25   rejected. Retail Prop. Tr., 768 F.3d at 945.

26          E.      The GSLA Explicitly Authorizes Valve to Seek Damages
27          Defendants’ argument yet again misdirects the Court to an inapplicable and irrelevant

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 1   section of the GSLA to argue that Valve is not entitled to any damages for any claim in this case

 2   against any Defendant. Dkt. 27 at 21. This argument fails.

 3          Section 6.2 of the GSLA confirms that Valve may seek damages for breach of the GSLA,

 4   including the damages sought by Valve in this case: “the Parties reserve all rights and remedies,

 5   including damages and equitable relief, for breach of this Agreement by the other Party.” Dkt. 23-

 6   1 at 7, ¶ 6.2. Section 6.2 confirms that “nothing herein . . . prevents any Party from enforcing the

 7   terms and conditions of this Agreement against the other.” Id. Defendants misdirect the Court to

 8   Section 9.5 which involves damages and liabilities “arising out of, or in connection with, this

 9   Agreement.” Dkt. 27 at 21 (quoting Dkt. 23-1 at 11, ¶ 9.5). On its face, Section 9.5 deals with

10   damages and liabilities incurred through compliance with the terms of the Agreement—not

11   breach. The GSLA expressly and unambiguously permits damages and equitable relief for breach.

12          To the extent there is any ambiguity in the Agreement language, it would be inappropriate

13   to resolve that ambiguity at the motion to dismiss stage. Bedrosian v. Tenet Healthcare Corp., 208

14   F.3d 220 (9th Cir. 2000) (unpublished opinion) (“Resolution of contractual claims on a motion to

15   dismiss is proper if the terms of the contract are unambiguous.”). Any such ambiguity should

16   benefit from the parties being able to take discovery on these issues.

17          The only case cited by Defendants supports denial of dismissal. Negrel v. Drive N Style

18   Franchisor SPV LLC, No. SACV1800583JVSKESX, 2018 WL 6136151, at *5 (C.D. Cal. Aug.

19   27, 2018). The Negrel court did not resolve issues of contract interpretation at the pleading stage.

20   Instead, in Negrel, defendants moved to dismiss plaintiff’s claims for punitive, exemplary,

21   incidental, special, and consequential damages as waived under the Franchise Agreement. Id. at

22   *5. Plaintiff disputed that such damages were waived because any waiver provision in the

23   Franchise Agreement are unconscionable and unenforceable and prohibited by state law. Id. At the

24   pleading stage, the court resolved only the fact that the waiver provision of the Franchise

25   Agreement was inconsistent with California Civil Code § 1668. Id. at *7-8. The court declined to

26   resolve whether a contract clause was unconscionable at the dismissal stage. Id. at *6 (noting that

27   the analysis of unconscionability is “highly fact-specific”). Similarly, any resolution of allegedly

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 1   ambiguous contract language is also highly fact-specific and should not be resolved without the

 2   opportunity to develop evidence.

 3          Defendants’ motion to dismiss Count III should be denied.

 4          F.      Should the Court Grant in Full or in Part Defendants’ Motion, Valve Should
                    Be Granted Leave to Amend
 5
            Should the Court grant in full or in part any of Defendants’ arguments, such a grant should
 6
     be without prejudice and allow Valve leave to amend the Complaint. Olympus Spa v. Armstrong,
 7
     No. 22-CV-00340-BJR, 2023 WL 3818536, at *18 (W.D. Wash. June 5, 2023) (granting leave to
 8
     amend because there was no bad faith, undue delay, or prejudice to defendants given the early
 9
     nature of the proceedings and cannot say that the amendment would be futile).
10
     III.   CONCLUSION
11
            Defendants’ motion to dismiss is based on identifying factual disputes that should not be
12
     resolved at the pleading stage and misdirecting the Court to irrelevant contract terms and legal.
13
     Each of Defendants’ arguments should be denied.
14

15   DATED: December 4, 2023               Respectfully submitted,
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17

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     MOTION TO DISMISS                                      - 17 -                            Seattle, WA 98101
     CASE NO. 2:23-CV-1016
                                                                                                 (206) 467-9600)
